  
  
   
  
  
   
   
  
   
  
   
 
    
   
   
    

SS
Certified Mail Number: 7004 1160 0003 0252 3750 | ay tix
: , o LMA
Notice of Fault and Opportunity to Cure My 3 Alt]
and Contest Acceptance J 2009
Clip, AT oe...
oy Seats ae é
Her apt COU
UNITED STATES DISTRICT COURT | OY
WESTERN DISTRICT OF WASHINGTON - SEATTLE .
700 STEWART STREET .
SEATTLE, WASHINGTON 98101 July 28, 2008

CLR IB g7k

Dear Sir or Madam,

On June 11, 2008, the undersigned caused to be sent to you via certified mail
number 7007 2680 0003 0822 5132: Bonded Bill of Exchange #602PA30370 with
Processing Instructions, a Letter of Advice, your original presentment in the
“amount of $3,505,344,29USD - accepted for value and imprinted with my invoice
number #3EM007251961-130 - along with copies of my UCC filing for said

invoice, my good-faith Statement of Account, and a copy of Certificate of
' Service, ,

You failed to perform after receiving these presentments from Joseph—Earl:
Meling on June 17, 2008. Your receipt and acceptance of this presentment is
evidenced by the signature of one Bill Rose» on the certified mail return
receipt,

As the Respondent, you are now at fault and you are in agreement and have
stipulated to my good-faith Statement of Account through your dishonor. You
have the right to cure this fault within, three (3). days and perform by
processing my Bonded Bill of Exchange, which will discharge your original
presentment -in full, and return to me any documented correction to my
Statement of Account if you determine that my accounting is incorrect.

Should you fail to cure your fault, this Notice and the undersigned's
following Affidavit will establish the fact in the record of your
"acceptance, agreement and general acquiescence”. to the matter established
upon Respondent's silence, pursuant to uce, State Statute rase Jaw and...

otherwise, OBR SAO BD DD A An
Thank you for your prompt attention to this matte | MINN IMI IM HUNT IND Il

Sincerely, 92-CR-00395-LTR

Without Prejudice ~ 7 ae
JOSEPH EARL MELING ©. ENS LEGIS

      

Secured arty Creditor
Authorized Representative
Attorney—-In-Fact

 
Case 2:92-cr-00395-BJR Document 466 Filed 07/31/08 Page 2 of 3

CERTIFICATE OF SERVICE ©

On the 22 ot Jury _» 2008, on behalf of Joseph-Earl: “MeLing, I caused
to be mailed the’ papers identified as:

1, Notice of Fault and Opportunity to Cure and Contest Acceptance
2. Copy of Certificate of Service

by placing then in a postage pre-paid envelope, bearing Certified Mail Number
7004 1160 0003 0252 3750: addressed to:

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON - SEATTLE
700 STEWART STREET
SEATTLE, WASHINGTON 98101

and placing said envelope in the mail box provided by the institution for U.5.
Mail. This action is deemed filed at the time it was delivered to prison
authorities for forwarfding. (See Houston v. Lack, 101 L.Ed.2d 245 (1988}). M
mailing location is: |

Federal C t Comp1

ederal Correction Complex FILED

. Victorville Medium 1. . LODG ae
13777 Air Expressway Blvd.. — RECEIVED ia iN Hl iL

   

vi
Victorville, California 92394 EN
my mailing address is: JUL 31 Paitin)
Federal Correction Complex — . VESTS A A cove
Victorville Medium 1 DISTRICT OF ta sup i
P.O; Box 5300 So PER

Adelanto, California 92301

I am over the age of 18 and not a party to the transaction regarding ‘the
papers I mailed. 1 declare under the pains of penalty for perjury, pursuant to

28 Ue S.C. §1746 that the foregoing is true, correct, and not meant to mislead.

Executed this 27 say of huey » 2008.

 

ry-Edwin: Miles

 

 
Case 2:92-cr-00395-BJR Document 466 Filed 07/31/08 Page 3 of 3

 

 

= ‘Joseph-Earl: Meling 22719-0865
Federal Correction Institute |
P.O. Box 5300000 .
‘Adelanto, California 92301  ° ="

a are

 
     
 

7O04 2460 D003 OeSe 3750

JUL 9 6 2088 UNITED STATES DISTRICT COURT
o ; WESTERN DISTRICT OF WASHINGTON

“The enclosed letter was processed _ 700 STEWART STREET

through special mailing pr

forwarding ta you. The feiter her been SEATTLE, WASHINGTON 98101

neither opened nor inspected. If the writer

raises a question or problem over which

facility has jurisdiction, you may wish

to return the material for further information

and clarification, If the writer encloses

correspondence for forwarding to

another addressee, please return the

enclosure to the above address,"

ATTN: CLERK OF THE COURT

Ba 104 + 12? a . Belsdalnadtenssthrdladldlatiastith ;

 

 
